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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

           THEOPHALIS WILSON,                       :
               Plaintiff,                           :             CIVIL ACTION
                                                    :
                         v.                         :             NO. 21-2057
                                                    :
           CITY OF PHILADELPHIA, et al.,            :
                Defendants.                         :

                                            ORDER

       AND NOW, this 31st day of March, 2023, upon consideration of Defendants Former

Assistant District Attorney David Desiderio and Former District Attorney Lynne Abraham’s

Motion to Dismiss (ECF No. 16), Defendants City of Philadelphia and Frank Margerum’s Motion

to Dismiss (ECF No. 17), Defendants City of Philadelphia, Frank Margerum, Richard Harris, and

Kevin Hollinshead’s Motion to Dismiss (ECF No. 40), Defendant John Grier’s Motion to Dismiss

(ECF No. 83), and Defendants Karen Ansel (as Personal Representative of the Estate of Francis

Ansel), Ludmilla Permint (as Personal Representative of the Estate of Charles Permint), James

Rodden (as Personal Representative of the Estate of Gregory Rodden), and Kenneth Russell’s (as

Personal Representative to the Estate of Raleigh Witcher) (collectively, the “Estate Defendants”)

Motion to Dismiss (ECF No. 91), it is hereby ORDERED as follows:

              1. Defendants Former Assistant District Attorney David Desiderio and Former
                 District Attorney Lynne Abraham’s Motion to Dismiss (ECF No. 16) and
                 Defendants City of Philadelphia and Frank Margerum’s Motion to Dismiss
                 (ECF No. 17) are DENIED as MOOT—in light of Plaintiff’s Amended
                 Complaint (ECF No. 37).

              2. Defendants City of Philadelphia, Frank Margerum, Richard Harris, and Kevin
                 Hollinshead’s Motion to Dismiss (ECF No. 40), Defendant John Grier’s Motion
                 to Dismiss (ECF No. 83), and the Estate Defendants’ Motion to Dismiss (ECF
                 No. 91) are GRANTED. 1

       IT IS SO ORDERED.
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                                                         BY THE COURT:
                                                             /s/ John Milton Younge
                                                         JUDGE JOHN MILTON YOUNGE


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    FACTUAL BACKGROUND:
Plaintiff Theophalis Wilson describes his case as follows:

        Theophalis Wilson spent over twenty-eight years wrongfully imprisoned for the murders of Kevin
        Anderson, Gavin Anderson, and Otis Reynolds, crimes he did not commit. After spending decades
        fighting for his freedom, Mr. Wilson and his co-defendant’s efforts finally proved that the only
        evidence linking Wilson to the crime – the statement of James White, the State’s only alleged
        eyewitness – was fabricated and false. Indeed, White recanted his identification of Mr. Wilson
        under oath and confirmed that prosecutors and police coerced and fed White a confession of the
        three homicides in order to implicate Mr. Wilson and his co-defendants in the crimes. In addition
        to proving Mr. Wilson had no involvement in the murders, the evidence adduced during Mr. Wilson
        and his co-defendants’ post-conviction proceedings revealed their wrongful convictions were not
        an innocent mistake, but the result of startling misconduct on the part of ADA Desiderio and
        Philadelphia police officers. However, the misconduct in Mr. Wilson’s case was not an isolated
        incident, but part of a long-standing pattern of investigative misconduct made possible by
        supervisors and policymakers in the Office of the Philadelphia District Attorney (“OPDA”) and the
        Philadelphia Police Department (“PPD”).

        Mr. Wilson’s conviction was overturned on January 21, 2020, after the OPDA filed a motion to
        vacate Mr. Wilson’s convictions on behalf of the Commonwealth of Pennsylvania, the charges
        against him were dismissed, and he was finally released.

        This civil rights action ensued on May 4, 2021, seeking redress against the City of Philadelphia,
        and individual police officers of the Philadelphia Police Department, as well as former Assistant
        District Attorney Desiderio and his supervisor, former District Attorney Lynn Abraham. Mr.
        Wilson has asserted § 1983 claims against the Officer Defendants for malicious prosecution,
        fabrication of evidence, and intentional infliction of emotional distress.

(Pl. Mem. in Opp. to Def. Mot. to Dismiss, pp. 2-3, ECF No. 90.)

Plaintiff’s specific claims are as follows:

        Count I: Malicious Prosecution, in violation of the Fourth and Fourteenth Amendments, as to all
        Defendants;

        Count II: Deprivation of Liberty without Due Process of Law and Denial of Fair Trial by
        Fabricating Evidence, Withholding Material Exculpatory and Impeachment Evidence, and
        Deliberately Failing to Conduct a Constitutionally Adequate Investigation, in Violation of the
        Fourth and Fourteenth Amendments, as to all Defendants;

        Count III: Deprivation of Liberty without Due Process of Law and Denial of Fair Trial by
        Fabricating and Coercing Evidence and Withholding Material Exculpatory and Impeachment
        Evidence in Violation of the Fourth and Fourteenth Amendments, as to all Defendants;



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        Count IV: Unconstitutional Failure to Intervene, as to all PPD Officers and Supervisors, and
        former Philadelphia District Attorney Lynne Abraham;

        Count V: Civil Rights Conspiracy, as to all Defendant PPD Officers and Supervisors;

        Count VI: Supervisory Liability Claim, as to Defendants City of Philadelphia, PPD Supervisors
        and Former District Attorney Lynne Abraham;

        Count VII: Monell Claim, Unconstitutional Customs, Policies and Practices, as to the City of
        Philadelphia;

        Count VIII: Malicious Prosecution under Pennsylvania state law, as to all Defendants;

        Count IX: Intentional or Reckless Infliction of Emotional Distress under Pennsylvania state law,
        as to all Defendants.

In response, a number of Defendants filed motions to dismiss centering on the following: (1) failure to
establish various Defendants’ personal involvement in the relevant murder investigations and ultimate
prosecution; (2) invoking qualified immunity as a bar to Plaintiff’s constitutional claims; (3) Defendant
City of Philadelphia’s Monell liability; and (4) invoking qualified immunity and the statute of limitations
as a bar to Plaintiff’s state law tort claims.

LEGAL STANDARD:
The standard for a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) is examined in
detail in Ashcroft v. Iqbal, 556 U.S. 662 (2009). After Iqbal, it is clear that “[t]hreadbare recitals of the
elements of a cause of action, supported by mere conclusory statements, do not suffice” to defeat a Rule
12(b)(6) motion to dismiss. Id. at 678; see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). “To
survive dismissal, ‘a complaint must contain sufficient factual matter, accepted as true, to state a claim [for]
relief that is plausible on its face.’” Tatis v. Allied Interstate, LLC, 882 F.3d 422, 426 (3d Cir. 2018) (quoting
Iqbal, 556 U.S. at 678). Facial plausibility is “more than a sheer possibility that a defendant has acted
unlawfully.” Id. (quoting Iqbal, 556 U.S. at 678). Instead, “[a] claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw the reasonable inference that the defendant is
liable for the misconduct alleged.” Id. (quoting Iqbal, 556 U.S. at 678).

DISCUSSION:
In their respective motions to dismiss, Defendants’ arguments center on the following four (4) categories:
(1) failure to establish various Defendants’ personal involvement in the relevant murder investigations and
ultimate prosecution; (2) invoking qualified immunity as a bar to Plaintiff’s constitutional claims; (3)
Defendant City of Philadelphia’s Monell liability; and (4) invoking qualified immunity and the statute of
limitations as a bar to Plaintiff’s state law tort claims. This Court will review each category in turn.

Personal Involvement
To start, Defendants Frank Margerum, Richard Harris, Kevin Hollinshead, John Grier, and the Estate
Defendants each argue—as a threshold matter—that Plaintiff’s claims against them fail because Plaintiff
does not sufficiently establish their “personal involvement” in any of the alleged constitutional or tort
harms. (Defs. Mots. to Dismiss, pp. 12-13, ECF No. 40; p. 10, ECF No. 83; pp.12-14, ECF No. 93.) After
all, “[b]ecause vicarious liability is inapplicable to…§ 1983 suits, a plaintiff must plead that each
Government-official defendant, through the official’s own individual actions, has violated the
Constitution.” Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009); see also Rode v. Dellarciprete, 845 F.2d 1195,
1207 (3d Cir. 1988) (“A defendant in a civil rights action must have personal involvement in the alleged
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wrongs; liability cannot be predicated solely on the operation of respondeat superior. Personal involvement
can be shown through allegations of personal direction or of actual knowledge and acquiescence.”). In
response, Plaintiff notes that he mentions Defendants individually throughout his Amended Complaint, but
also notes that he “cannot specifically identify all of the potential misconduct or failures to investigate that
occurred by each individual officer”—thus, necessitating the need to refer to “PPD Officers” and the
“police.”

This Court finds that Plaintiff’s pleading approach is not inherently violative of Iqbal. As the Eastern
District (Pratter, J.) noted:

        [T]he Complaint’s tendency to create sub-groups of defendants, such as the “on-scene Defendants,”
        is not a basis for this Court to dismiss for failure to state a claim. While [plaintiff] will ultimately
        have to prove that each individual defendant violated his constitutional rights to survive summary
        judgment or succeed at trial, at this [motion to dismiss] stage of the case, before the completion of
        discovery, it is sufficient for a plaintiff to identify a sub-group of defendants as responsible for
        particular, stated constitutional wrongs.

Wright v. City of Philadelphia, 229 F. Supp. 3d 322, 338 (E.D. Pa. 2017); see also Burgess v. Baltimore
Police Dep’t, No. CV RDB-15-0834, 2016 WL 795975, at *10 (D. Md. Mar. 1, 2016) (“The use of ‘Officer
Defendants’ thus does not amount to insufficient group pleading under Iqbal and Twombly.”); Mincy v.
McConnell, No. C.A. 09-236 ERIE, 2010 WL 3092681, at *3 (W.D. Pa. July 15, 2010), report and
recommendation adopted, No. CIV.A. 09-236 ERIE, 2010 WL 3092677 (W.D. Pa. Aug. 6, 2010) (finding
that although “Plaintiff fails to identify any of the foregoing Defendants by name in the body of the
complaint,” his “repeated use of the term ‘security lieutenants,’ in the plural tense, is intended to implicate
[the defendants]”—ultimately suggesting that the defendants’ motion to dismiss for lack of personal
involvement should be denied).

Taken together, this Court declines to dismiss Plaintiff’s Complaint for lack of personal involvement—as
“[t]he Complaint’s allegations provide more than enough…detail to give [Defendants] notice of the nature
and basis of the claims against them” and “contains sufficient factual allegations to ‘allow[ ] the court to
draw the reasonable inference that the defendant[s are] liable for the misconduct alleged.’” Wright v. City
of Philadelphia, 229 F. Supp. 3d 322, 338–39 (E.D. Pa. 2017) (citations omitted).

Counts I-IV: Qualified Immunity
If this Court were to find that Plaintiff pled sufficient facts to show personal involvement, Defendants then
argue that a number of Plaintiff’s claims—specifically aspects of Counts I-IV of Plaintiff’s Complaint—
are barred by qualified immunity.

As the Third Circuit instructs, “[q]ualified immunity shields government officials from personal liability
for civil damages ‘insofar as their conduct does not violate clearly established statutory or constitutional
rights of which a reasonable person would have known.’” George v. Rehiel, 738 F.3d 562, 571–72 (3d Cir.
2013) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Relatedly, “[d]etermining whether a right
alleged to have been violated is so clearly established that any reasonable officer would have known of it
‘must be undertaken in light of the specific context of the case, not as a broad general proposition.’” Id.
(quoting Brosseau v. Haugen, 543 U.S. 194, 198 (2004)). Taken together, “in order to overcome the defense
of qualified immunity here, [the plaintiff] must allege facts showing that the conduct of each individual
federal defendant (1) ‘violated a statutory or constitutional right, and (2) that the right was ‘clearly
established’ at the time of the challenged conduct.’” Id. (quoting Ashcroft v. al-Kidd, 563 U.S. 731, 735
(2011)). Finally, “[t]he established-right prong of a qualified immunity defense does not demand that there
had been a precise preview of the applicable legal analysis underlying the defense; rather, ‘what is required

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is that government officials have ‘fair and clear warning’ that their conduct is unlawful.’” Halsey v. Pfeiffer,
750 F.3d 273, 295 (3d Cir. 2014) (internal citation omitted) (quoting Devereaux v. Abbey, 263 F.3d 1070,
1074–75 (9th Cir. 2001) (“Undertaking the first step of the two-step qualified immunity inquiry, we are
persuaded that there is a clearly established constitutional due process right not to be subjected to criminal
charges on the basis of false evidence that was deliberately fabricated by the government. Perhaps because
the proposition is virtually self-evident, we are not aware of any prior cases that have expressly recognized
this specific right, but that does not mean that there is no such right. Rather, what is required is that
government officials have ‘fair and clear warning’ that their conduct is unlawful.”)

With this context, this Court will review each of the four counts in turn to assess whether qualified immunity
can be properly invoked.

     A. Count I: Malicious Prosecution (Fourteenth Amendment)
Under Count I, Plaintiff asserts a claim for “Malicious Prosecution, in violation of the Fourth and
Fourteenth Amendments, as to all Defendants.” (Am. Compl., ¶¶ 270-277, ECF No. 37.) Defendants only
challenge Plaintiff’s malicious prosecution claim as it relates to the Fourteenth Amendment. Upon
considering this issue, the Eastern District has determined that whether a claim for malicious prosecution
can be brought under the Fourteenth Amendment is not “clearly established.” In 2018, Judge Pratter noted
that “[t]his temporal distinction [between the invocation of the Fourth Amendment prior to trial and the
invocation of the Fourteenth Amendment during and after trial] suggests that a procedural due process right
against malicious prosecution may exist. However, this was, and indeed remains, an unsettled question,
meaning that [the plaintiff] fails to overcome the defense of qualified immunity.” Thomas v. City of
Philadelphia, 290 F. Supp. 3d 371, 382 (E.D. Pa. 2018). In coming to this conclusion, Judge Pratter
reasoned that “[i]t would be strange to say that right X is clearly established just because right Y is clearly
established and happens to prohibit the same conduct. Indeed, precisely because right Y is clearly
established (in this case, precisely because a Fourth Amendment right against malicious prosecution is
clearly established), [the plaintiff] has a clear avenue to recovery for being the target of a malicious
prosecution.” Id. at 382–83 (emphasis in original). Similarly, in 2020, Judge Baylson held that, “because
the legal landscape on this question is complicated and uncertain, the right was not ‘clearly established,’
which means that the [defendants] are entitled to qualified immunity…to the extent it relies on the
Fourteenth Amendment.” Lewis v. City of Philadelphia, No. CV 19-2847, 2020 WL 1683451, at *5 (E.D.
Pa. Apr. 6, 2020). This Court agrees with this persuasive authority and concludes that the uncertainty (with
respect to whether a malicious prosecution claim applies to the Fourteenth Amendment) entitles Defendants
to qualified immunity—with the understanding that Plaintiff’s claim will still proceed under the Fourth
Amendment. Thus, Defendants’ motions to dismiss Count I (Malicious Prosecution)—as it pertains to and
relies on the Fourteenth Amendment—are hereby granted.

   B. Counts II and III: Withholding Exculpatory Evidence
Next, Plaintiff seemingly asserts duplicative claims in Counts II and III for “Deprivation of Liberty without
Due Process of Law and Denial of Fair Trial…by Withholding Material Exculpatory and Impeachment
Evidence...in Violation of the Fourth and Fourteenth Amendments, as to all Defendants.” (Am. Compl., ¶¶
278-294, ECF No. 37.) This Court will consolidate and review these claims for purposes of a qualified
immunity analysis.

Here, the dispute centers on whether Brady obligations extended to police officers during the time of
Plaintiff’s 1992 arrest and 1993 conviction. In Gibson, the Third Circuit explained that:

        Although this Court held in United States v. Perdomo, 929 F.2d 967, 970 (3d Cir. 1991), that
        evidence in the hands of the police could be imputed to the prosecutor, the Supreme Court did not
        settle this matter until 1995 when it decided Kyles v. Whitley, 514 U.S. at 437, 115 S. Ct. 1555

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        (“[T]he individual prosecutor has a duty to learn of any favorable evidence known to the others
        acting on the government’s behalf in the case, including the police.”). More importantly, the
        related duty of the police to disclose information to the prosecutor was not widely addressed until
        later. Even in 2000, this Court was only able to assume that police officers “have an affirmative
        duty to disclose exculpatory evidence to an accused if only by informing the prosecutor that the
        evidence exists.” Smith v. Holtz, 210 F.3d 186, 197 n.14 (3d Cir. 2000). Because such a right was
        not clearly established in this Circuit at the time of Gibson’s conviction [in 1994], Troopers
        Pennypacker and Reilly are entitled to qualified immunity with regard to their failure to inform
        the prosecutor of Brady material.

Gibson v. Superintendent of NJ Dep’t of L. & Pub. Safety-Div. of State Police, 411 F.3d 427, 443–44 (3d
Cir. 2005). Following this precedent, courts within the Third Circuit have come to different conclusions.
As recently as April 2020, Judge Baylson, “assuming that Third Circuit case law is a source of ‘clearly
established’ rights and obligations,” concluded that a detective/police officer’s “duty to turn over the
exculpatory evidence was not clearly established until the 2005 [i.e., when the Third Circuit decided
Gibson].” Lewis v. City of Philadelphia, No. CV 19-2847, 2020 WL 1683451, at *9 (E.D. Pa. Apr. 6, 2020).
However, a number of courts have determined that police officers had Brady obligations as early as 1995
when the Supreme Court imposed Brady obligations onto prosecutors in Kyles v. Whitley. See, e.g., Thomas
v. City of Philadelphia, 290 F. Supp. 3d 371, 384 (E.D. Pa. 2018) (“In [Gibson], the Third Circuit Court of
Appeals held that officers’ Brady obligations were ‘not clearly established at the time of [the plaintiff's]
prosecution in 1994.’ Those obligations became clearly established in 1995, when the Supreme Court
decided [Kyles v. Whitley].”); Thorpe v. City of Phila., No. CV 19-5094, 2020 WL 5217396, at *11 (E.D.
Pa. Sept. 1, 2020) (citing Thomas to conclude that an officer’s Brady obligations were clearly established
as of 1995); Pierre v. Treasury Dep't, No. CV 18-3443 (JLL), 2019 WL 2121369, at *6 (D.N.J. May 14,
2019) (“[C]onsidering Plaintiff’s prosecution and conviction occurred in 1996, i.e., after the Supreme
Court’s decision in [Kyles v. Whitley], the Court shall not apply qualified immunity to Plaintiff’s claims
against [the defendant-police officer] to the extent that they relate to a violation of Brady.”)

Taken together, Gibson controls here: Because such a right was not “clearly established” in this Circuit at
the time of Plaintiff’s conviction on August 6, 1993, Defendants are entitled to qualified immunity with
regard to their failure to inform the prosecutor of Brady material. Thus, Defendants’ motions to dismiss
Counts II and III (Withholding Exculpatory Material)—as it pertains to Brady violations asserted against
Defendants—are hereby granted.

    C. Count II: Constitutionally Inadequate Investigation
Under Count II, Plaintiff mounts a claim, in relevant part, for “Deprivation of Liberty without Due Process
of Law and Denial of Fair Trial by…Deliberately Failing to Conduct a Constitutionally Adequate
Investigation, in Violation of the Fourth and Fourteenth Amendments, as to all Defendants.” (Am. Compl.,
¶¶ 278-285, ECF No. 37.)

Judge Pratter has reiterated that, “there is ‘no constitutional right to a police investigation.’” Thomas v. City
of Philadelphia, 290 F. Supp. 3d 371, 386 (E.D. Pa. 2018) (quoting Whitehead v. City of Philadelphia, No.
CIV.A. 13-2167, 2014 WL 657486, at *2 (E.D. Pa. Feb. 19, 2014)). In fact, the Whitehead Court noted
that, “[e]ven a negligent police investigation…cannot serve as the basis for a constitutional
claim.” Whitehead v. City of Philadelphia, No. CIV.A. 13-2167, 2014 WL 657486, at *2 (E.D. Pa. Feb. 19,
2014) (referencing Orsatti v. New Jersey State Police, 71 F.3d 480, 484 (3d Cir. 1995) (“whether the
officers conducted the investigation negligently is not a material fact” in determining whether a
constitutional violation occurred). Additionally, Judge Pratter opined that “[i]t certainly remains to be seen
whether there is an independent cause of action under the Fourteenth Amendment for Count 2’s claim for
‘failing to conduct a constitutionally adequate investigation,’ and the Court will not affirmatively recognize

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one here at this time. However, to the extent this claim stands for the more general proposition that the
Defendants’ unconstitutional conduct throughout their investigation interfered with [the plaintiff’s] right to
a fair trial, then this claim would also be timely pursuant to Heck’s deferred accrual rule.” Wright v. City of
Philadelphia, 229 F. Supp. 3d 322, 332 n.3 (E.D. Pa. 2017). Here, Plaintiff relies on the last sentence of
this quote to argue that such a claim could be asserted under the Fourteenth Amendment. (Pl. Mem. in Opp.
to Defs. Part. Mot. to Dismiss., p. 29, ECF No. 47.) However, perhaps most telling, Judge Pratter reiterated
in Thomas—just over a year later—that “the Court will not affirmatively recognize one here at this time”
(referring to the right to a constitutionally adequate investigation). Thomas v. City of Philadelphia, 290 F.
Supp. 3d 371, 386 (E.D. Pa. 2018) (emphasis in original) (quoting Wright v. City of Philadelphia, 229 F.
Supp. at 332 n.3). Relatedly, Judge Kenney similarly concluded, “even if such a right [to a constitutionally
adequate investigation] exists, the murkiness of the law makes clear that the right is not clearly established
today, nor was it clearly established between 2000 and 2004. Accordingly, we find that Defendants are
entitled to qualified immunity on this claim.” Outlaw v. City of Philadelphia, No. CV 21-1290, 2021 WL
3471168, at *6 (E.D. Pa. Aug. 6, 2021).

Guided by this persuasive guidance, this Court similarly concludes that the murkiness of the law suggests
that such a right to a constitutionally adequate investigation was not clearly established in the early 1990s—
thereby entitling Defendants to qualified immunity with respect to a right to have a constitutionally adequate
investigation. Thus, Defendants’ motions to dismiss Counts II—as it pertains to the constitutionally
inadequate investigation claims asserted against Defendants—are hereby granted. Despite this Court’s
determination, it is worth reiterating that the failure to adequately investigate claim could likely still be
covered under Plaintiff’s malicious prosecution claim under Count I. See, e.g., Thomas v. City of
Philadelphia, 290 F. Supp. 3d 371, 386 (E.D. Pa. 2018) (noting how a failure to adequately investigate
claim can be captured in a malicious prosecution claim); Outlaw v. City of Philadelphia, No. CV 21-1290,
2021 WL 3471168, at *7 (E.D. Pa. Aug. 6, 2021) (same).

    D. Count IV: Failure to Intervene
Under Count IV, Plaintiff asserts a claim of “Unconstitutional Failure to Intervene, as to all PPD Officers
and Supervisors.” (Am. Compl., ¶¶ 295-298, ECF No. 37.)

However, Judge Robreno highlights potential issues that can arise when defining clearly established rights
“at a high level of generality”:

        There is no doubt that the vast majority of failure-to-intervene claims involve a situation in which
        a state actor is present during the oftentimes short-lived moment in which another state actor
        wrongfully uses physical contact against an individual. This case, on the other hand, invites the
        Court to consider a potential ongoing duty and opportunity to intervene, which [the plaintiff]
        contends exists up until the moment of conviction. [The plaintiff] suggests that intervention could
        come in the form of ensuring that basic investigative steps were taken, a supervisor stopping an
        investigation, or an officer reporting the fabrication of evidence to a prosecutor.

        [The plaintiff’s] counsel conceded during oral argument that, to the best of her knowledge, there
        are no cases where the Third Circuit Court of Appeals entertains the proposition that the
        fabrication and withholding of evidence at issue would establish another’s duty to intervene. Even
        so, she argued that any reasonable official would have been put on notice that he or she ought to
        have intervened to stop conduct which is violating an individual’s constitutional rights. However,
        this line of reasoning runs the risk of defining the clearly established law “at a high level of
        generality,” which the Supreme Court has longed instructed courts not to do.



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Thorpe v. City of Phila., No. CV 19-5094, 2020 WL 5217396, at *10 (E.D. Pa. Sept. 1, 2020) (quoting
Bland v. City of Newark, 900 F.3d 77, 83 (3d Cir. 2018)).

Judge Kenney reiterated this point when he noted:

        [The plaintiff] argues that Smith, and the Eleventh, Eighth, and Seventh Circuit cases
        that Smith cites, support imposing a responsibility on the Detective Defendants to have
        understood that failing to intervene in [the plaintiff’s] false arrest, malicious prosecution, false
        imprisonment and deprivation of liberty was a violation of his constitutional rights. However, our
        sister court recently rejected a similar argument, explaining that this argument invites courts to
        define clearly established law “at a high level of generality,” which the Supreme Court has longed
        instructed courts not to do.

Outlaw v. City of Philadelphia, No. CV 21-1290, 2021 WL 3471168, at *7 (E.D. Pa. Aug. 6, 2021) (internal
citation omitted) (quoting Thorpe v. City of Phila., No. CV 19-5094, 2020 WL 5217396, at *10 (E.D. Pa.
Sept. 1, 2020)).

Similar to Thorpe, this Court will not attempt to define clearly established law “at a high level of generality.”
Similar to Outlaw, this Court declines Plaintiff’s “invitation to take impermissible liberties in defining the
asserted right. As neither our independent research nor [Plaintiff’s] briefing identified any cases from our
Court of Appeals finding that fabrication, withholding of evidence, and failing to conduct a ‘constitutionally
sound investigation’ would establish a duty to intervene, we find that Defendants are entitled to qualified
immunity.” Outlaw v. City of Philadelphia, No. CV 21-1290, 2021 WL 3471168, at *7 (E.D. Pa. Aug. 6,
2021). Thus, Defendants’ motions to dismiss Counts IV (Failure to Intervene) are hereby granted.

Count VII: Monell Liability
Under Count VII, Plaintiff advances a “Monell Claim (Unconstitutional Customs, Policies, and Practices
of Defendant City of Philadelphia)” against Defendant City of Philadelphia. (Am. Compl., ¶¶ 310-322,
ECF No. 37.)

For the City of Philadelphia to be held liable for money damages under § 1983, Plaintiff “must identify a
municipal policy or custom that amounts to deliberate indifference to the rights of people with whom the
police come into contact.” Carswell v. Borough of Homestead, 381 F.3d 235, 244 (3d Cir. 2004). Further,
deliberate indifference “is a stringent standard of fault, requiring proof that a municipal actor disregarded a
known or obvious consequence of his action.” Connick v. Thompson, 563 U.S. 51, 61 (2011). Relatedly,
Judge Baylson highlights how “[s]everal courts of appeals have held that if a right is not clearly established,
a municipal entity cannot be deliberately indifferent to it.” Lewis v. City of Philadelphia, No. CV 19-2847,
2020 WL 1683451, at *12 (E.D. Pa. Apr. 6, 2020) (collecting cases).

This Court is persuaded by this guidance. Since the rights at issue with respect to Count I (Fourteenth
Amendment Malicious Prosecution), Counts II and III (Brady violations), Count II (Constitutionally
Inadequate Investigation), and Count IV (Failure to Intervene) were not clearly established during
Plaintiff’s 1992 arrest and 1993 conviction, Defendant City of Philadelphia could not have been deliberately
indifferent and cannot be held liable under § 1983. Thus, Plaintiff’s Monell claims are dismissed
(specifically as it pertains to this Court’s analysis of those aforementioned Counts I-IV above), but not with
respect to Plaintiff’s other claims which have not been barred by qualified immunity.

Counts VIII-IX: State Law Tort Claims
In addition to Plaintiff’s federal claims, he also brings state law tort claims. More specifically, under Count
VIII, Plaintiff brings a claim for “Malicious Prosecution under Pennsylvania state law, as to all
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Defendants.” (Am. Compl., ¶¶ 323-327, ECF No. 37.) Under Count IX, Plaintiff asserts a claim for
“Intentional or Reckless Infliction of Emotional Distress under Pennsylvania state law, as to all
Defendants.” (Am. Compl., ¶¶ 328-330, ECF No. 37.)

In response to Counts VIII and IX, Defendant City of Philadelphia cites to Jenkins, which instructs that
“the Pennsylvania Political Subdivision Tort Claims Act [42 Pa.C.S.A. § 8541] does indeed prevent [the
plaintiff] from bringing state law tort claims for false arrest, false imprisonment, and/or malicious
prosecution against the City.” Jenkins v. City of Philadelphia, No. CV 15-3271, 2015 WL 5585186, at *2
(E.D. Pa. Sept. 23, 2015); see also Agresta v. City of Philadelphia, 694 F. Supp. 117, 123 (E.D. Pa. 1988)
(“[I]t would appear that the plaintiff is bringing tort actions based on false arrest and imprisonment,
malicious prosecution, intentional infliction of emotional distress, and assault and battery. As far as the City
of Philadelphia is concerned, it is immune from suit for the plaintiff’s state law claims. The Political
Subdivision Tort Claims Act abrogates the liability of a local agency only for certain narrowly excepted
negligent acts.”). Taken together, Defendant City of Philadelphia is entitled to qualified immunity with
respect to Plaintiff’s state law claims for malicious prosecution and IIED. Thus, Defendant City of
Philadelphia’s motion to dismiss Counts VIII and IX is granted.

Finally, Defendant John Grier seemingly mentions in one sentence of his memorandum that Plaintiff’s IIED
claim is barred by the two-year statute of limitations. (Def. Grier Mem. of Law in Supp. of Mot. to Dismiss,
p. 7, ECF No. 83.) Similarly, the Estate Defendants allude to the IIED claim being barred by the statute of
limitations; however, the Estate Defendants seemingly never responded to Plaintiff’s counterarguments in
its reply brief. (Estate Defs. Mem. of Law in Supp. of Mot. to Dismiss, p. 14, ECF No. 91.) However,
Pennsylvania law seemingly instructs that, “[a]n untimely filed claim may be permitted under equitable
tolling where the defendant actively misleads the plaintiff regarding the cause of action, where
extraordinary circumstances prevent the plaintiff from asserting rights, or where the plaintiff timely asserts
rights but in the wrong forum.” Quest Diagnostics Venture, LLC v. Com., 119 A.3d 406, 413 n.6 (Pa.
Commw. Ct. 2015), aff’d sub nom. Quest Diagnostics Venture, LLC v. Commonwealth, 637 Pa. 371, 148
A.3d 448 (2016). Thus, this Court is inclined to allow Plaintiff’s IIED claim to proceed under the
assumption that extraordinary circumstances—in the form of wrongful incarceration and conviction—
prevented Plaintiff from asserting this claim. However, the parties are able to re-raise this statute of
limitations issue at the summary judgment stage with additional briefing.

A SUMMARY OF THE REMAINING CLAIMS:
Since Defendants Former Assistant District Attorney David Desiderio and Former District Attorney Lynne
Abraham did not file a renewed motion to dismiss in light of Plaintiff’s Amended Complaint, Plaintiff’s
claims asserted against them still remain.

In light of this Order, the following claims will proceed to discovery with respect to Defendants City of
Philadelphia, Frank Margerum, Richard Harris, Kevin Hollinshead, John Grier, and the Estate Defendants:

        Count I: Malicious Prosecution, in violation of the Fourth, as to all Defendants;

        Count II: Deprivation of Liberty without Due Process of Law and Denial of Fair Trial by
        Fabricating Evidence, in Violation of the Fourth and Fourteenth Amendments, as to all Defendants;

        Count III: Deprivation of Liberty without Due Process of Law and Denial of Fair Trial by
        Fabricating and Coercing Evidence in Violation of the Fourth and Fourteenth Amendments, as to
        all Defendants;



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Count IV: Unconstitutional Failure to Intervene, as to former Philadelphia District Attorney Lynne
Abraham;

Count V: Civil Rights Conspiracy, as to all Defendant PPD Officers and Supervisors;

Count VI: Supervisory Liability Claim, as to Defendants City of Philadelphia, PPD Supervisors
and Former District Attorney Lynne Abraham;

Count VII: Monell Claim, Unconstitutional Customs, Policies and Practices, as to the City of
Philadelphia— to the extent that the claims against Defendant City of Philadelphia do not arise out
of the claims for which qualified immunity attaches (i.e., Count I: Malicious Prosecution in
violation of the Fourteenth Amendment; Count II: Withholding of Evidence and Failing to Conduct
a Constitutionally Adequate Investigation; Count III: Withholding of Evidence; and Count IV:
Unconstitutional Failure to Intervene);

Count VIII: Malicious Prosecution under Pennsylvania state law, as to all relevant Defendants
(except Defendant City of Philadelphia);

Count IX: Intentional or Reckless Infliction of Emotional Distress under Pennsylvania state law,
as to all relevant Defendants (except Defendant City of Philadelphia).




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